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                                    STATEMENT OF FACTS

        Your affiant, Justin Smet, is a Special Agent assigned to the Federal Burau of Investigation
(“FBI”) Los Angeles Field Office’s Long Beach Resident Agency Joint Terrorism Task Force. In
my duties as a Special Agent, I investigate violations of the laws of the United States, specifically
investigations related to domestic and foreign terrorism. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

         On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the U.S. House of
Representatives and U.S. Senate, including the President of the Senate, Vice President Mike Pence,
were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the U.S.
Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained
in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the sessions
resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Photographs and videos of several of these persons were disseminated via social media and
other open source online platforms. These persons included a white male, wearing a black tactical
vest with the words “PRESS” on his chest and back, and a black helmet with the words “PRESS”
on either side. The images below, depict the individual, whom law enforcement has probable
cause to believe is Matthew Thomas Purse (“PURSE”), known to reside in California. 1




1
  Your affiant does not believe that PURSE is a member of the press media or associated with
having press credentials related to the U.S. Capitol. On or about January 11, 2021, FBI received
information from a confidential source (“CS”), who saw PURSE on a livestream on Twitch, a
livestreaming platform, believed to be taken on January 6, 2021. During the livestream, PURSE,
wearing the above helmet, “seems to admit he is not with press.” The CS further described
PURSE stating to the camera, “Mission accomplished, we broke into the Capitol.” The video
has been since deleted. Your affiant confirmed that prior to or on January 6, 2021, PURSE did
not receive any credentials from the Capitol, which allowed members of the news media access
to areas inside of the Capitol. Moreover, your affiant could not find any employment history for
PURSE for the last six years while PURSE has resided in California, or any employment history
ever related to any news media organization. Although PURSE has a website, the website
appears to be primarily used for livestreaming and does not contain original content. The
website also includes a private forum for discussions.
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        According to video footage, on January 6, 2021, PURSE entered the U.S. Capitol at
approximately 2:59 pm. As depicted below, PURSE entered through the Columbus Door on the
eastern side of the building, carrying a long black pole, with what appears to be a recording device
at the end of the pole.




        After entering the U.S. Capitol, PURSE proceeded to the Rotunda. As depicted below,
highlighted in the red box, while inside the Rotunda, PURSE was identifiable in the crowd due to
his long black pole as well as the white “PRESS” labels on his attire.
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       PURSE appeared to be standing off to the side, observing the crowd’s interactions with the
law enforcement officers. At approximately 3:03 pm, as the crowd became more volatile, as
depicted below in the red box, PURSE crossed the room and exited the Rotunda.




       According to video footage, PURSE exited the U.S. Capitol at approximately 3:12 pm.
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       Following January 6, 2021, your affiant reviewed information provided by United
Airlines, which confirmed that PURSE traveled to Washington D.C. prior to January 6, 2021.
The information revealed PURSE traveled from California to Washington D.C. on January 5,
2021 and returned to California from Washington D.C. on January 8, 2021.

        Your affiant learned through public records that the phone number associated with
PURSE ends in 8859 (“8859 Number”). Your affiant confirmed this information with the phone
provider, AT&T Corporation (“AT&T”). According to the records provided by AT&T, the
subscriber to the 8859 Number is Overwatch LLC, one of PURSE’s LLCs, and the contact name
on the account is “Matthew Purse.” The address associated with the AT&T account is an
address in Newport Beach, CA. According to AT&T, on January 6, 2021, the 8859 Number
pinged of the cellular tower closest to the U.S. Capitol.

         On March 30, 2021, your affiant learned that PURSE’s address, listed with the California
Department of Motor Vehicles, is also the same Newport Beach address. Further review
revealed that the address is a business address for the Mail Room of Newport Beach, a privately
owned post office that provides a variety of mail services, including post office (“PO”) box
rentals.

       On April 1, 2021, your affiant spoke to an employee of the Mail Room. According to the
employee, PURSE rents one of the PO boxes, and has rented the box since 2015. On May 6,
2021, your affiant returned to the Mail Room and spoke to the employee. When your affiant
showed the employee the below pictures and asked the employee to identify the person, the
employee immediately pointed to PURSE and stated, “Matt Purse.”
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       Since April, your affiant has located PURSE, who is believed to reside in Irvine, California.
The address of PURSE’s residence is under another LLC, also associated with PURSE, known as
Disruptive Technologies, LLC. On two separate occasions, your affiant observed two seperate
vehicles parked outside of the building, both of which are registered to PURSE.

       On May 28, 2021, your affiant conducted surveillance at PURSE’s residence and observed
a male, matching the description of PURSE, exit the residence to dump a trash can in a nearby
dumpster.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
PURSE violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
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        Your affiant submits there is also probable cause to believe that PURSE violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                    _________________________________
                                                    Justin Smet
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of June 2021.                                 Digitally signed by
                                                                   G. Michael Harvey
                                                                   Date: 2021.06.28
                                                    ___________________________________
                                                                   10:48:44 -04'00'
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
